                               UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                  AT CHATTANOOGA

UNITED STATES OF AMERICA                      )         MATTICE/CARTER
                                              )
        v.                                    )         CASE NO. 1:13-CR-15
                                              )
WILFRED W. WRIGHT                             )


                             REPORT AND RECOMMENDATION

        Pursuant to 28 U.S.C. ' 636(b), I conducted a plea hearing in this case on June 18, 2013. At

the hearing, defendant entered a plea of guilty to Counts One, Two, and Three of the Indictment

pursuant to a Notice of Intent to Plead Guilty (Doc. 40). On the basis of the record made at the

hearing, I find that the defendant is fully capable and competent to enter an informed plea; that the

plea is made knowingly and with full understanding of each of the rights waived by defendant; that

it is made voluntarily and free from any force, threats, or promises; that the defendant understands

the nature of the charge and penalties provided by law; and that the plea has a sufficient basis in

fact.

        I therefore recommend that defendant's plea of guilty to Counts One, Two, and Three of the

Indictment be accepted, that the Court adjudicate defendant guilty of the charges set forth in

Counts One, Two, and Three of the Indictment.

        I further recommend that defendant remain in custody until sentencing in this matter.

Acceptance of the plea, adjudication of guilt, and imposition of sentence are specifically reserved

for the district judge.

        The defendant=s sentencing date is scheduled for Monday, September 23, 2013, at 9:00

am.


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                                               UNITED STATES MAGISTRATE JUDGE




                                      NOTICE TO PARTIES

        You have the right to de novo review of the foregoing findings by the district judge. Any
application for review must be in writing, must specify the portions of the findings or proceedings
objected to, and must be filed and served no later than fourteen (14) days after the plea hearing.
Failure to file objections within fourteen days constitutes a waiver of any further right to challenge
the plea of guilty in this matter. See 28 U.S.C. '636(b).




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